Case 9:18-cv-80257-RLR Document 48 Entered on FLSD Docket 05/30/2018 Page 1 of 19



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

  MABELLE MEYAART
  a/k/a/ MAI MEYAART,
                                                          Case No.: 9-18-cv-80257-RLR
               Plaintiff,

  vs.

  TRAVEL LEADERS GROUP, LLC d/b/a and
  s/k/a TRAVEL LEADERS GROUP, NINAN
  CHACKO and JOHN LOVELL,

               Defendants
                                                   /

  ANSWER AND AFFIRMATIVE DEFENSES OF TRAVEL LEADERS GROUP, LLC TO
               PLAINTIFF'S SECOND AMENDED COMPLAINT

         The Defendant TRAVEL LEADERS GROUP, LLC, d/b/a and s/k/a TRAVEL

  LEADERS GROUP, ("TLG") by and through its undersigned counsel hereby provides this

  Answer and Affirmative Defenses to the Plaintiff, MABELLE MEYAART ("Meyaart") Second

  Amended Complaint in response to the allegations as follows with affirmative defenses as

  indicated.

                                 GENERAL ALLEGATIONS

         1.    Denied as to any violations by the Defendant TLG as to any state or federal laws.

         2.    Admitted.

         3.    Admitted.

         4.    Admitted.

         5.    Without knowledge of the Plaintiff's residence.

         6.    Defendant TLG does not deny the contents of its professional firm's website.

         7.    Denied.




                                                                                 301936755v1 1008006
Case 9:18-cv-80257-RLR Document 48 Entered on FLSD Docket 05/30/2018 Page 2 of 19
                                                                      Case No. 9-18-cv-80257-RLR


         8.      Without knowledge as to John Lovell's legal residence.             Admitted as to

  employment status and title.

         9.      Without knowledge as to any actions of Chacko and Lovell which would rise to

  the level of a hostile work environment.

         10.     Admitted as to TLG; without knowledge as to jurisdiction of this Court over

  Chacko or Lovell

         11.     Admitted as to TLG.

         12.     Admitted as to TLG only.

         13.     Without knowledge as to previous services provided by the Plaintiff.

         14.     Denied.

         15.     Denied.

         16.     Admitted that Plaintiff held multiple positions with Travel Leaders. Denied as to

  remaining allegations in Paragraph 16 of the complaint.

         17.     Admitted that Plaintiff completed some duties assigned in a satisfactory manner.

  Denied as to the remaining allegations in Paragraph 17 of the complaint.

         18.     Denied.

         19.     Denied as stated. Plaintiff was part of a team who accomplished certain goals and

  objectives.

         20.     Denied.

         21.     Denied.

         22.     Denied.

         23.     Admitted that Plaintiff contributed part of an overall contribution; denied as to

  any exclusive acts on the part of Meyaart which led to the overall success of the hotel division.



                                                   2
                                                                                     301936755v1 1008006
Case 9:18-cv-80257-RLR Document 48 Entered on FLSD Docket 05/30/2018 Page 3 of 19
                                                                    Case No. 9-18-cv-80257-RLR


            24.   Denied.

            25.   Admitted as to a note provided from Mr. Chacko to Meyaart.

            26.   Admitted that Plaintiff was offered alternative comparable positions with Travel

  Leaders and that she declined each offer made. Denied as to the remaining allegations of

  Paragraph 26, of the complaint.

            27.   Admitted that Plaintiff was offered multiple other positions all of which she

  denied.

            28.   Denied.

            29.   Denied.

            30.   Denied.

            31.   Denied.

            32.   Denied.

            33.   Denied.

            34.   Denied.

            35.   Denied.

            36.   Denied.

            37.   Denied.

            38.   Denied.

            39.   Denied including subparts A through H.

            40.   Denied.

            41.   Denied.

            42.   Denied.

            43.   Denied.



                                                  3
                                                                                   301936755v1 1008006
Case 9:18-cv-80257-RLR Document 48 Entered on FLSD Docket 05/30/2018 Page 4 of 19
                                                                        Case No. 9-18-cv-80257-RLR


         44.     Denied including subparts A through E.

         45.     Denied as stated.

         46.     Denied.

         47.     Denied.

         48.     Denied.

         49.     Denied including subparts A through C.

         50.     Denied including subparts A through L.

         51.     Denied.

         52.     Denied.

         53.     Denied.

         54.     Denied.

         55.     Denied.

         56.     Denied.

         57.     Admitted.

         58.     Without knowledge. Defendant TLG is without knowledge as to the contractural

  relationship between the Plaintiff and her counsel. Denied that any attorney's fees are due and

  owing from TLG.

                                        COUNT I
                            EQUAL PAY ACT, 29 U.S.C. SECTION 206

         59.     The Defendant TLG realleges and reasserts the defenses and responses set forth in

  paragraphs 1 through 58 as if set forth more fully herein.

         60.     This is a summary and referenced to a federal statute. The Defendant TLG denies

  that there has been any violation of state or federal law including the citation referenced. TLG

  also asserts that interpretation of the law in solely in the purview of this Court.


                                                    4
                                                                                        301936755v1 1008006
Case 9:18-cv-80257-RLR Document 48 Entered on FLSD Docket 05/30/2018 Page 5 of 19
                                                                    Case No. 9-18-cv-80257-RLR


         61.     Denied.

         62.     Denied.

         63.     Denied including subparts A through D.

         64.     Denied including all listed employees in subparts A through F.

         65.     Denied including subparts A through J.

         66.     Denied.

         67.     Denied.

         68.     Denied.

         69.     Denied

         70.     Denied.

         71.     Denied.

         72.     Denied.

         73.     Denied.

         74.     Denied.

         75.     Denied.

         76.     Denied.

         77.     Denied.

         WHEREFORE, the Defendant TLG denies that any damages in the form of

  compensation, back pay, liquidated damages, actual damages, attorney's fees or punitive

  damages are due and owing.

                                        COUNT II
                           VIOLATION OF FLA. STAT. §448.101 et seq.
                              FLORIDA WHISTLEBLOWER ACT

         78.     The Defendant TLG realleges and reasserts the defenses and responses set forth in

  paragraphs 1 through 58 as if set forth more fully herein.

                                                   5
                                                                                  301936755v1 1008006
Case 9:18-cv-80257-RLR Document 48 Entered on FLSD Docket 05/30/2018 Page 6 of 19
                                                                    Case No. 9-18-cv-80257-RLR


         79.     Denied including subparts A and B.

         80.     Denied, as no objections were made by the Plaintiff to the knowledge of LG.

         81.     Denied including subparts A through R.

         82.     Denied.

         83.     Denied.

         84.     Denied.

         WHEREFORE, the Defendant TLG requests that this Court deny judgment against

  Travel Leaders including denying any requests for compensation, attorney's fees, back pay, front

  pay, bonuses, additional lost wages and compensation.

                                          COURT III
                                    NEGLIGENT RETENTION

         85.     The Defendant TLG realleges and reasserts the defenses and responses set forth in

  paragraphs 1 through 58 as if set forth more fully herein.

         86.     Admitted as to obligation to create a safe work place. Denied as to any violation

  of this obligation on the part of TLG.

         87.     Denied.

         88.     Denied.

         89.     Denied.

         90.     Denied.

         91.     Denied.

         92.     Denied.

         93.     Denied.

         94.     Denied.

         95.     Denied.


                                                   6
                                                                                  301936755v1 1008006
Case 9:18-cv-80257-RLR Document 48 Entered on FLSD Docket 05/30/2018 Page 7 of 19
                                                                      Case No. 9-18-cv-80257-RLR


         96.     Denied.

         97.     Denied.

         98.     Denied.

         99.     Denied.

         100.    Denied.

         101.    Denied.

         102.    Denied.

         WHEREFORE, the Defendant TLG requests this Court to deny a judgment including any

  damages, interest costs or other further relief sought by the Plaintiff including punitive damages

  pursuant to Fla. Stat. 468.72.

                                         COUNT IV
                                   TORTIOUS INTERFERENCE

         103.    The Defendant TLG realleges and reasserts the defenses and responses set forth in

  paragraphs 1 through 58 as if set forth more fully herein.

         104.    Denied.

         105.    Denied.

         106.    Denied.

         107.    Denied.

         WHEREFORE, the Defendant TLG respectfully requests this Court deny any judgment

  against Mr. Chacko or Mr. Lovell jointly or severally as per Fla. Stat. 468.72.

                                         COUNT V
                                    DEFAMINATION PER SE

         108.    The Defendant TLG realleges and reasserts the defenses and responses set forth in

  paragraphs 1 through 58 as if set forth more fully herein.



                                                   7
                                                                                    301936755v1 1008006
Case 9:18-cv-80257-RLR Document 48 Entered on FLSD Docket 05/30/2018 Page 8 of 19
                                                                      Case No. 9-18-cv-80257-RLR


         109.    Defendant TLG is unaware of any publication by Chacko or Lovell of any

  defamatory statements and therefore denies this paragraph.

         110.    Defendant TLG is unaware of any publication by Chacko or Lovell of any

  defamatory statements and therefore denies this paragraph.

         111.    Admitted.

         112.    Denied.

         113.    Denied.

         114.    Denied.

         WHEREFORE, the Defendant TLG respectfully requests this Court to deny and

  judgment against any defendants in this claim pursuant to Fl. Stat 468.72.

                                       COUNT VI
                               DEFAMATION BY IMPLICATION

         115.    The Defendant TLG realleges and reasserts the defenses and responses set forth in

  paragraphs 1 through 58 as if set forth more fully herein.

         116.    Denied.

         117.    Denied.

         118.    Denied.

         119.    Denied.

         120.    Denied as to the existence of any such statements.

         121.    Admitted.

         122.    Denied.

         123.    Denied.

         124.    Denied.

         125.    Denied.


                                                   8
                                                                                  301936755v1 1008006
Case 9:18-cv-80257-RLR Document 48 Entered on FLSD Docket 05/30/2018 Page 9 of 19
                                                                     Case No. 9-18-cv-80257-RLR


         WHEREFORE, the Defendant TLG respectfully requests this Court deny any judgment

  in favor of the Plaintiff including denying any request for damages, interests, costs and punitive

  fees pursuant to Fla. Stat. 468.72.

                               COUNT VII
    GENER DISCRIMINATION UNDER TITLE VII OF THE CIVIL RIGHTS ACT OF
               1964, AS AMENDED AND 42 U.S.C. §§ 2000(e) et seq,

         126.    The Defendants realleges its defenses and statements as set forth in paragraphs 56

  through 73 as if set forth more fully herein.

         127.    Denied.

         128.    Denied.

         129.    Denied.

         130.    Denied including subparts A through H.

         131.    Denied.

         132.    Denied.

         133.    Denied.

         134.    Denied.

         WHEREFORE, the Defendant TLG respectfully requests this Court deny any request for

  judgment and damages as set forth in paragraphs A through F of the Plaintiff's WHEREFORE

  clause for this Count.

                               COUNT VIII
     HOSTILE ENVIRONMENT UNDER TITLE VII OF THE CIVIL RIGHTS ACT OF
                1964, AS AMENDED AND 42 U.S.C. §§ 2000(e) et seq.

         135.    The Defendant realleges and reasserts the defenses and statements as set forth in

  paragraph 56 through 73 as if set forth more fully herein.

         136.    Denied.

         137.    Denied.

                                                  9
                                                                                    301936755v1 1008006
Case 9:18-cv-80257-RLR Document 48 Entered on FLSD Docket 05/30/2018 Page 10 of 19
                                                                       Case No. 9-18-cv-80257-RLR


          138.    Denied.

          139.    Denied.

          WHEREFORE, the Defendant TLG respectfully requests this Court deny a judgment in

   favor of the Plaintiff and deny all damages as requested in subparts A through F in this Count's

   WHEREFORE clause.

                                 COUNT IV
        RETALIATION UNDER TITLE VII OF THE CIVILRIGHTS ACT OF 1964 AS
                    AMENDED AND 42 U.S.C. §§ 2000(e) et seq.

          140.    The Defendant TLG realleges and reasserts the answers and defenses as set forth

   in paragraphs 60 through 77 as set forth more fully herein.

          141.    Denied.

          142.    Denied.

          143.    Denied.

          144.    Denied.

          145.    Denied.

          146.    Denied.

          147.    Denied.

          148.    Denied.

          149.    Denied.

          150.    Denied.

          151.    Denied.

          WHEREFORE, the Defendant TLG respectfully requests this Court deny any judgment

   or relief as requested by the Plaintiff including all requests in subparagraphs A through F in this

   Count's WHEREFORE clause.



                                                   10
                                                                                      301936755v1 1008006
Case 9:18-cv-80257-RLR Document 48 Entered on FLSD Docket 05/30/2018 Page 11 of 19
                                                                    Case No. 9-18-cv-80257-RLR


                                     COUNT V
                     GENDER DISCRIMINATION UNDER CHAPTER 760,
                             FLORIDA CIVIL RIGHTS ACT

          152.    The Defendant realleges and reasserts its answers and statements as set forth in

   paragraphs 60 through 77 as if set forth more fully herein.

          153.    Denied.

          154.    Denied.

          155.    Denied.

          156.    Denied including all subparts A through H.

          157.    Denied.

          158.    Denied.

          159.    Denied.

          160.    Denied.

          WHEREFORE, the Defendant TLG respectfully requests this Court deny any judgment

   and all relief as requested by the Plaintiff in subparts A through F as set forth by the

   WHEREFORE clause of this Count.

                             COUNT XI
    HOSTILE ENVIRONMENT UNDER CHAPTER 760 FLORIDA CIVIL RIGHTS ACT

          161.    The Defendant TLG realleges and reasserts the defenses and answers as set forth

   in paragraphs 60 through 77 as set forth more fully herein.

          162.    Denied.

          163.    Denied.

          164.    Denied.

          165.    Denied.




                                                   11
                                                                                   301936755v1 1008006
Case 9:18-cv-80257-RLR Document 48 Entered on FLSD Docket 05/30/2018 Page 12 of 19
                                                                    Case No. 9-18-cv-80257-RLR


          WHEREFORE, the Defendant TLG respectfully requests this Court deny any judgment

   or damages in favor of the Plaintiff including all requested damages as set forth in subparts A

   through F of the WHEREFORE clause of this Count.

                                COUNT XII
           RETALIATION UNDER CHAPTER 760, FLORIDA CIVIL RIGHTS ACT

          166.    The Defendant TLG realleges and reasserts the defenses and answers as set forth

   in paragraphs 60 through 77 as if set forth more fully herein.

          167.    Denied.

          168.    Denied.

          169.    Denied.

          170.    Denied.

          171.    Denied.

          172.    Denied.

          173.    Denied.

          174.    Denied.

          175.    Denied.

          176.    Denied.

          177.    Denied.

          WHEREFORE, the Defendant TLG respectfully requests that this Court deny any

   judgment and damages as requested by the Plaintiff in subparts A through F in the

   WHEREFORE clause as set forth in this Count.

                                    AFFIRMATIVE DEFENSES

          Having responded to the Complaint and without prejudice to its denials and other

   statements of its pleadings, Defendant TLG asserts affirmative defenses.      By asserting the


                                                   12
                                                                                  301936755v1 1008006
Case 9:18-cv-80257-RLR Document 48 Entered on FLSD Docket 05/30/2018 Page 13 of 19
                                                                     Case No. 9-18-cv-80257-RLR


   following affirmative and other defenses, Defendant TLG does not assume any burden of

   production or proof that it does not otherwise have.

                            AFFIRMATIVE DEFENSE NUMBER ONE

          As an affirmative defense to the claim under the Equal Pay Act, apart from the fact that

   the jobs alleged to be comparable are not equal, the exemptions of 29 U.S.C. § 206(d)(1)

   preclude recovery by Plaintiff as any pay differentials for the jobs were based on factors other

   than sex, including, but not limited to, quality of performance by the employee; economic

   benefits to the company from such employee’s performance; training in specialized area;

   managerial and leadership skills; quality of relations with co- workers and others; prior salary

   and more experience; and experience in the area of the job in question, depending on the

   employee to whom Plaintiff attempts to make a comparison.

                           AFFIRMATIVE DEFENSE NUMBER TWO

          Plaintiff’s liquidated damages claims are barred by the Portal to Portal Act, 29 U.S.C. §

   260, because the acts or omissions complained of were done in good faith and with reasonable

   grounds for believing they were not in violation of the FLSA and Equal Pay Act, for relying on

   factors, including, but not limited to, quality of performance by the employee; economic benefits

   to the company from such employee’s performance; training in specialized area; managerial

   and leadership skills; quality of relations with co-workers and others; prior salary and more

   experience; and experience in the area of the job in question, depending on the employee to

   whom Plaintiff attempts to make a comparison.




                                                   13
                                                                                    301936755v1 1008006
Case 9:18-cv-80257-RLR Document 48 Entered on FLSD Docket 05/30/2018 Page 14 of 19
                                                                        Case No. 9-18-cv-80257-RLR


                          AFFIRMATIVE DEFENSE NUMBER THREE

          Plaintiff’s claims under the Equal Pay Act are time barred by the applicable statute of

   limitations under the FLSA, 29 U.S.C. § 255, to the extent that they accrued more than 2 years

   prior to the commencement of this action.

                           AFFRIMATIVE DEFENSE NUMBER FOUR

          Any and all actions Defendant TLG took with respect to Plaintiff’s employment were for

   legitimate, non-discriminatory, and non- retaliatory reasons and were taken in the good-faith

   exercise of reasonable business judgment and for reasons other than gender or retaliation.

                            AFFIRMATIVE DEFENSE NUMBER FIVE

          Defendant TLG had an anti-harassment policy, including sexual harassment, and

   exercised reasonable care to prevent and correct promptly any complaints of sexually harassing

   behavior and plaintiff failed to take advantage of the preventive and corrective opportunities

   provided by Defendant TLG or to avoid harm otherwise.

                             AFFIRMATIVE DEFENSE NUMBER SIX

          Plaintiff’s employment was terminated for legitimate non-discriminatory reasons which

   are not violative of either the Florida Civil Rights Act or any other Florida law.

                          AFFIRMATIVE DENFENSE NUMBER SEVEN

          Plaintiff has failed to take any action to mitigate her damages by: failing to seek and/or

   maintain comparable employment with reasonable diligence following her cessation of

   employment with Defendant.




                                                    14
                                                                                        301936755v1 1008006
Case 9:18-cv-80257-RLR Document 48 Entered on FLSD Docket 05/30/2018 Page 15 of 19
                                                                         Case No. 9-18-cv-80257-RLR


                           AFFIRMATIVE DEFENSE NUMBER EIGHT

          Plaintiff’s complaint fails to state a cause of action in that it fails to allege an actual

   violation of a law, rule or regulation by Defendant TLG and there was in fact no actual violation

   of law, rule or regulation by Defendant TLG as required under the Florida Whistleblower’s Act.

                            AFFIRMATIVE DEFENSE NUMBER NINE

          Plaintiff’s complaint fails to state a cause of action in that it fails to allege violation of a

   law applicable to the employer, Defendant TLG, and pertaining to the business of Defendant

   TLG, as required under the Florida Whistleblower’s Act.

                            AFFIRMATIVE DEFENSE NUMBER TEN

          Plaintiff failed to mitigate her damages by failing to accept the Destination Marketing

   position that was offered to her by Defendant and also to the extent that Plaintiff has failed to

   make a reasonable effort to seek or retain other comparable employment, and any claim for back

   pay or damages for lost compensation after Plaintiff left the employ of Defendant should be

   reduced or barred.

                         AFFIRMATIVE DEFENSE NUMBER ELEVEN

          If Plaintiff suffered any emotional distress as a result of any act or omission by

   Defendant, then that emotional distress was insufficiently severe to entitle her to recover any

   damages.

                         AFFIRMATIVE DEFENSE NUMBER TWELVE

          If the evidence shows that Plaintiff’s negligence contributed to the damages claimed by

   Plaintiff, then any recovery by Plaintiff on her claims of negligence must be reduced and affected

   by the degree to which Plaintiff’s own negligence caused or contributed to the alleged damages

   pursuant to comparative negligence, including, but not limited to, Plaintiff’s failure to follow the



                                                    15
                                                                                         301936755v1 1008006
Case 9:18-cv-80257-RLR Document 48 Entered on FLSD Docket 05/30/2018 Page 16 of 19
                                                                         Case No. 9-18-cv-80257-RLR


   sexual harassment policy of Defendant to report any alleged conduct that she considered to be

   sexually harassing or discriminatory.

                         AFFIRMATIVE DEFENSE NUMBER THIRTEEN

          Plaintiff is not entitled to punitive damages because she has failed to plead, and cannot

   meet, the standard announced in Speedway SuperAmerica, LLC v. Dupont, 933 So. 2d 75 (Fla.

   2d DCA 2006) and related cases.

                        AFFIRMATIVE DEFENSE NUMBER FOURTEEN

          Plaintiff’s claims of negligence fail to state a cause of action and are barred by the impact

   rule as Plaintiff fails to allege and did not suffer any physical impact.

                          AFFIRMATIVE DEFENSE NUMBER FIFTEEN

          Plaintiff’s claims of negligence fail to state a cause of action and are barred for failure to

   allege any injury resulting from an underlying tort recognized under Florida common law.

   Florida law does not recognize a common law cause of action for sexual harassment.

                          AFFIRMATIVE DEFENSE NUMBER SIXTEEN

          If the evidence shows that other parties caused or contributed to Plaintiff’s alleged

   damages, Defendant TLG cannot be liable in negligence for more than its proportional share of

   the liability of all those who caused or contributed to Plaintiff's alleged damages.


                        AFFIRMATIVE DEFENSE NUMBER SEVENTEEN

          Any award to the Plaintiff under the negligence claim should be reduced by the total of

   all amounts which have been paid for the benefit of Plaintiff or which are otherwise available to

   her.




                                                     16
                                                                                          301936755v1 1008006
Case 9:18-cv-80257-RLR Document 48 Entered on FLSD Docket 05/30/2018 Page 17 of 19
                                                                         Case No. 9-18-cv-80257-RLR


                        AFFIRMATIVE DEFENSE NUMBER EIGHTEEN

          Plaintiff’s defamation claims in Counts V and VI do not allege sufficient facts about the

   alleged statements, to whom they were made, or when they were made. To the extent that the

   alleged defamatory statements were matters of opinion, they were protected by freedom of

   speech under the United States Constitution and the Florida Constitution.

                        AFFIRMATIVE DEEFENSE NUMBER NINETEEN

          Plaintiff’s defamation claims in Counts V and VI do not allege sufficient facts about the

   alleged statements, to whom they were made, or when they were made. To the extent that the

   alleged defamatory statements were true or substantially true and were made with good motives,

   Plaintiffs’ claim for defamation should be barred.

                              AFFIRMATIVE DEFENSE NUMBER TWENTY

          Plaintiff’s defamation claims in Counts V and VI do not allege sufficient facts about the

   alleged statements, to whom they were made, or when they were made. To the extent that the

   alleged defamatory statements were made in good faith to those with a common interest in the

   subject of the statements, they are privileged.

                      AFFIRMATIVE DEFENSE NUMBER TWENTY-ONE

          Plaintiff’s defamation claims in Counts V and VI do not allege sufficient facts about the

   alleged statements, to whom they were made, or when they were made. To the extent that any of

   the alleged defamatory statements were made more than two years prior to the filing of this

   action, the cause is barred by the limitations period in Fla. Stat. §95.11.

                      AFFIRMATIVE DEFENSE NUMBER TWENTY-TWO

          Plaintiff’s defamation claims in Counts V and VI do not allege sufficient facts about the

   alleged statements, to whom they were made, or when they were made. To the extent that the



                                                     17
                                                                                     301936755v1 1008006
Case 9:18-cv-80257-RLR Document 48 Entered on FLSD Docket 05/30/2018 Page 18 of 19
                                                                       Case No. 9-18-cv-80257-RLR


   alleged defamatory statements were made in the course of a judicial or quasi-judicial proceeding,

   they are privileged.

                    AFFIRMATIVE DEFENSE NUMBER TWENTY- THREE

           Defendant TLG has not knowingly or intentionally waived any applicable defenses and

   reserves the right to assert and rely on such other applicable defenses as may later become

   available or apparent. Defendant TLG further reserves the right to amend its answer and defenses

   accordingly and to delete defenses that it determines are not applicable during the course of

   discovery.

                     AFFIRMATIVE DEFENSE NUMBER TWENTY -FOUR

           To the extent Plaintiffs are attempting to maintain a collective, representative or class

   action under the FLSA, Title VII or the Florida Human Rights Act, Plaintiffs cannot establish the

   existence of any similarly situated individuals willing and/or eligible to participate as party-

   Plaintiffs in this lawsuit, nor can Plaintiffs establish entitlement to class certification or

   notification.

           WHEREFORE, having fully answered the Complaint and having raised legal defenses

   thereto, Defendant TLG respectfully requests that this action be dismissed with prejudice in its

   entirety, that judgment be entered in favor of Defendant TLG, and that Defendant TLG be

   awarded its costs, including reasonable attorney’s fees incurred in defending this lawsuit.


                                   CERTIFICATE OF SERVICE


           I hereby certify that on May 30, 2018, I electronically filed the foregoing with the Clerk

   of the Court by using the CM/ECF system which will send a notice of electronic filing to the

   following: Schwarzberg & Associates, (Attorneys for Plaintiff) Steven L. Schwarzberg, Esq.,



                                                   18
                                                                                      301936755v1 1008006
Case 9:18-cv-80257-RLR Document 48 Entered on FLSD Docket 05/30/2018 Page 19 of 19
                                                                Case No. 9-18-cv-80257-RLR


   2751 South Dixie Highway, Suite 400, West Palm Beach, FL 33405, Telephone (561) 659-3300;

   Facsimile (561) 693-4540.


                                               s/ Cheryl L. Wilke
                                               Cheryl L. Wilke
                                               Florida Bar No. 893780
                                               cwilke@hinshawlaw.com
                                               HINSHAW & CULBERTSON LLP
                                               One East Broward Boulevard, Suite 1010
                                               Ft. Lauderdale, FL 33301
                                               Telephone: 954-467-7900
                                               Facsimile: 954-467-1024
                                               Secondary: ablitz@hinshawlaw.com
                                               Office: ftllitigation@hinshawlaw.com
                                               Attorneys for Defendant, Travel Leaders
                                               Group, LLC




                                              19
                                                                             301936755v1 1008006
